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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                         :
 DAVID ZIGLER,                           :
                                         :
                          Plaintiff,     :
                                         :            20cv2462 (DLC)
                -v-                      :
                                         :                 ORDER
 FEATHERSTONE FOODS, INC., CARAWAY       :
 REALTY, LLC, SESAME DISTRIBUTION, INC., :
 JOEL SCHOENFELD, KUZARI GROUP, LP, and :
 MARK RIMER,                             :
                          Defendants.    :
                                         :
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DENISE COTE, District Judge:

     An Order of September 4, 2020, allowed Peter Ripin, Esq.,

counsel for defendants Kuzari Group, LP and Mark Rimer, to

withdraw from this case, effective September 18.         The same day,

Neil Postrygacz, Esq. filed a letter on ECF opposing Mr. Ripin’s

request to withdraw.

     Section 20.3 of this Court’s Electronic Case Filing Rules &

Instructions states “An attorney who joins a case already in

progress must electronically file a Notice of Appearance.”            Mr.

Postrygacz never having filed a Notice of Appearance in this

case, it is hereby
         Case 1:20-cv-02462-DLC Document 44 Filed 09/09/20 Page 2 of 2




     ORDERED that the Clerk of Court shall strike the September

4 letter from Mr. Postrygacz from the docket.

Dated:       New York, New York
             September 9, 2020


                                    __________________________________
                                              DENISE COTE
                                      United States District Judge
